        CASE 0:20-cv-01502-JRT-BRT Doc. 148 Filed 12/07/21 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

 MILDRED BALDWIN and RONALD                  :
 STRUCKHOFF, on behalf of themselves         :   Civil File No. 0:20-cv-1502 (JRT/HB)
 and others similarly situated,              :
                                             :
       Plaintiffs,                           :
                                             :   JOINT MOTION REGARDING
 vs.                                         :   CONTINUED SEALING
                                             :
 HEARINGPRO, INC.,                           :
                                             :
       Defendant/Crossclaim-Defendant,       :
                                             :
 and                                         :
                                             :
 MIRACLE-EAR, INC.,                          :
                                             :
       Defendant/Crossclaimant/Third-        :
       Party Plaintiff,                      :
                                             :
 vs.                                         :
                                             :
 TIFFANY DAVIS                               :
                                             :
       Third-Party Defendant.                :
                                             :


       A Memorandum in Support and exhibit were filed temporarily under seal in the

above-captioned matter in connection with Plaintiffs’ Motion to Reopen Limited

Discovery (Doc. 132). Pursuant to District of Minnesota Local Rule 5.6(d), Plaintiffs and

Defendant HearingPro, Inc. submit this Joint Motion Regarding Continued Sealing.
                             CASE 0:20-cv-01502-JRT-BRT Doc. 148 Filed 12/07/21 Page 2 of 4


                                MARK “X” IN
                            APPLICABLE COLUMN
                                                        NONPARTY
      DESCRIPTION          Parties    Parties  Parties     THAT
ECF                         Agree     Agree   Disagree DESIGNATED            REASON WHY DOCUMENT SHOULD
          OF
NO.                          Doc       Doc                                   REMAIN SEALED OR BE UNSEALED
       DOCUMENT                                        CONFIDENTIAL
                           Should     Should             (IF ANY)
                           Remain       be
                           Sealed    Unsealed

134   Sealed                           X
      Memorandum in
      Support of [132]
      Plaintiffs’ Motion
      to Reopen
      Limited
      Discovery

137   Exhibit 8 to           X                                           This document is non-public and designated
      Declaration of                                                     “Confidential” by HearingPro under the Protective
      Raina Borrelli in                                                  Order in this matter, Doc. 64, because it reflects an
      Support of                                                         agreement between HearingPro and a third-party
      Plaintiffs’ Motion                                                 vendor, which agreement is available neither to
      to Reopen                                                          HearingPro’s competitors nor the general public. As
      Limited                                                            such, HearingPro requests, and Plaintiffs agree, that
      Discovery                                                          it should remain sealed.
      (HP_002081)




                                                           2
       CASE 0:20-cv-01502-JRT-BRT Doc. 148 Filed 12/07/21 Page 3 of 4




Dated: December 7, 2021            Respectfully submitted,

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Dated: December 7, 2021            /s/ Lawren Zann
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                                     3
CASE 0:20-cv-01502-JRT-BRT Doc. 148 Filed 12/07/21 Page 4 of 4




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                              4
